Case: 6:21-cr-00052-REW-HAI Doc #: 25 Filed: 11/10/21 Page: 1 of 2 - Page ID#: 56




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON


 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )          No. 6:21-CR-52-REW-HAI
                                                  )
 v.                                               )
                                                  )                    ORDER
 JOHN R. HOLLAND,                                 )
                                                  )
       Defendant.                                 )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 23 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant John R. Holland’s guilty plea and adjudge

him guilty of Counts One and Two of the Indictment (DE 1). See DE 24 (Recommendation). Judge

Ingram expressly informed Holland of the right to object to the recommendation and to secure de

novo review from the undersigned. See id. at 3. The established, 3-day objection deadline has

passed, and no party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 66, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate’s judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)–(3) (limiting de novo review duty to “any

objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).
Case: 6:21-cr-00052-REW-HAI Doc #: 25 Filed: 11/10/21 Page: 2 of 2 - Page ID#: 57




       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 24, ACCEPTS Holland’s guilty plea, and ADJUDGES

           Defendant guilty of Counts One and Two of the Indictment;

       2. Further, per Judge Ingram’s unopposed recommendation and Defendant’s agreement

           (DE 22 at ¶ 10), the Court provisionally FINDS that the property identified in the

           operative indictment (DE 1 at 2–3) is forfeitable and that Holland has an interest in said

           property, and preliminarily ADJUDGES Defendant’s interest in such property

           FORFEITED. Under Criminal Rule 32.2, and absent pre-judgment objection, “the

           preliminary forfeiture order becomes final as to” Defendant at sentencing. Fed. R.

           Crim. P. 32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at

           (b)(4)(B);

       3. The Court CANCELS the trial as to this Defendant; and

       4. The Court will issue a separate sentencing order.1

       This the 10th day of November, 2021.




1
  At the hearing, Judge Ingram remanded Defendant to custody. See DE 23. This was Holland’s
status pre-hearing. See DE 12. The Court, thus, sees no need to further address detention at this
time. Defendant will remain in custody pending sentencing.
